                                 EXHIBIT B
                              [July 2021 Invoice]




DOCS_DE:238894.1 18502/001
 Case 1-20-10322-CLB, Doc 1680-2, Filed 04/25/22, Entered 04/25/22 18:41:26,
              Description: Exhibit B - July 2021 Invoice, Page 1 of 14
                               Pachulski Stang Ziehl & Jones LLP
                                         780 Third Avenue
                                            34th Floor
                                        New York, NY 10017
                                                              July 31, 2021
IDS                                                           Invoice 129097
                                                              Client    18502
                                                              Matter    00002
                                                                        IDS

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 07/31/2021
               FEES                                             $36,061.00
               EXPENSES                                            $594.20
               TOTAL CURRENT CHARGES                            $36,655.20

               BALANCE FORWARD                                  $96,581.20
               TOTAL BALANCE DUE                               $133,236.40




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18502 - 00002                                                        July 31, 2021




  Summary of Services by Professional
  ID        Name                        Title              Rate       Hours              Amount

 BMM        Michael, Brittany M.        Counsel           695.00       8.80            $6,116.00

 CAK        Knotts, Cheryl A.           Paralegal         300.00       0.40             $120.00

                                                                       1.10             $770.00
 IAWN       Nasatir, Iain A. W.         Partner           700.00
                                                                      28.50           $19,950.00
 IDS        Scharf, Ilan D.             Partner           700.00
                                                                       1.80             $540.00
 NPL        Lockwood, Nancy P. F.       Paralegal         300.00
                                                                      10.80            $3,240.00
 SLL        Lee, Sophia L.              Other             300.00
 WLR        Ramseyer, William L.        Counsel           700.00       0.20             $140.00

 WLR        Ramseyer, William L.        Counsel           850.00       6.10            $5,185.00

                                                                     57.70             $36,061.00




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  Summary of Services by Task Code
  Task Code         Description                                 Hours                      Amount

 BL                 Bankruptcy Litigation [L430]                 6.40                     $3,756.00

 CA                 Case Administration [B110]                   1.10                      $767.50

 CO                 Claims Admin/Objections[B310]               30.10                    $16,741.00

 CP                 Compensation Prof. [B160]                    8.20                     $6,487.50

 GC                 General Creditors Comm. [B150]               5.00                     $3,491.50

 H                  Hearings                                     1.00                      $697.50

 IC                 Insurance Coverage                           2.90                     $2,020.50

 ME                 Mediation                                    2.40                     $1,680.00

 SL                 Stay Litigation [B140]                       0.60                      $419.50

                                                                        57.70            $36,061.00




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  Summary of Expenses
  Description                                                                             Amount
Outside Services                                                                  $500.00
Pacer - Court Research                                                                $11.20
Reproduction/ Scan Copy                                                               $83.00

                                                                                          $594.20




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                                                                                      Hours           Rate      Amount

  Bankruptcy Litigation [L430]
 07/14/2021   IDS      BL       Revise motion to compel.                               1.00        700.00       $700.00
 07/15/2021   IDS      BL       Work on motion to compel.                              1.30        700.00       $910.00
 07/15/2021   NPL      BL       Email communications with B. Michael regarding         0.20        300.00        $60.00
                                motion to compel.
 07/15/2021   NPL      BL       Telephone call with chambers regarding hearing on      0.10        300.00        $30.00
                                motion to compel.
 07/15/2021   NPL      BL       Prepare notice of hearing on motion to compel.         1.20        300.00       $360.00
 07/16/2021   NPL      BL       Telephone call with chambers regarding hearing         0.10        300.00        $30.00
                                date on motion to compel.
 07/16/2021   NPL      BL       Email communications with B. Michael regarding         0.10        300.00        $30.00
                                hearing date availability for motion to compel.
 07/16/2021   NPL      BL       Edits to notice of hearing on motion to compel.        0.10        300.00        $30.00
 07/21/2021   IDS      BL       Work on motion to compel.                              1.50        700.00      $1,050.00
 07/23/2021   BMM      BL       Draft motion to intervene in insurance adversary       0.80        695.00       $556.00
                                proceedings.

                                                                                       6.40                    $3,756.00

  Case Administration [B110]
 07/14/2021   BMM      CA       Participate in call with Debtor's counsel regarding    0.50        695.00       $347.50
                                ongoing case issues.
 07/23/2021   IDS      CA       Telephone call with Donato regarding parish            0.20        700.00       $140.00
                                stipulation, mediators.
 07/23/2021   IDS      CA       Telephone call with Brittany Michael regarding         0.10        700.00        $70.00
                                parish stipulation.
 07/27/2021   IDS      CA       Telephone call with Diocese counsel regarding          0.30        700.00       $210.00
                                status conference.

                                                                                       1.10                     $767.50

  Claims Admin/Objections[B310]
 07/15/2021   IDS      CO       Review list of non- diocesan abusers.                  0.20        700.00       $140.00
 07/19/2021   BMM      CO       Revise PSZJ interim fee application.                   1.00        695.00       $695.00
 07/20/2021   IAWN CO           Telephone conference with B. Michael and Scharf re     0.60        700.00       $420.00
                                claims review.
 07/20/2021   SLL      CO       Review and chart sex abuse claims.                     2.00        300.00       $600.00
 07/21/2021   IDS      CO       Claims analysis.                                       2.30        700.00      $1,610.00




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                                                                                     Hours           Rate       Amount
 07/21/2021   IDS      CO       Analysis of insurance/ claims overlay.                1.80        700.00      $1,260.00
 07/21/2021   SLL      CO       Review and chart sex abuse claims.                    3.00        300.00        $900.00
 07/22/2021   IDS      CO       Zoom with Pachulski Stang Ziehl & Jones, local        0.50        700.00        $350.00
                                counsel regarding claims analysis.
 07/22/2021   IDS      CO       Revise claims review form.                            0.60        700.00        $420.00
 07/22/2021   IDS      CO       Initial claims review analysis, regarding sexual      2.80        700.00      $1,960.00
                                abuse claims.
 07/22/2021   SLL      CO       Review and chart sex abuse claims.                    2.00        300.00        $600.00
 07/22/2021   BMM      CO       Meeting with S. Bogucki, I. Scharf, and S. Lee        0.50        695.00        $347.50
                                regarding claims review process.
 07/23/2021   SLL      CO       Review and chart sex abuse claims.                    3.80        300.00      $1,140.00
 07/23/2021   BMM      CO       Communications with Committee regarding               0.30        695.00        $208.50
                                upcoming hearings.
 07/26/2021   IDS      CO       Initial claims review.                                2.80        700.00      $1,960.00
 07/26/2021   IDS      CO       Spreadsheet setup for claims review.                  1.40        700.00        $980.00
 07/29/2021   IDS      CO       Claims review and analysis.                           4.50        700.00      $3,150.00

                                                                                     30.10                    $16,741.00

  Compensation Prof. [B160]
 07/23/2021   WLR      CP       Prepare interim fee application                       0.60        850.00        $510.00
 07/23/2021   WLR      CP       Correspondence to Liliana Gardiazabal and Brittany    0.20        700.00        $140.00
                                re interim fee application and documents needed
 07/23/2021   BMM      CP       Revise PSZJ interim fee application.                  0.50        695.00        $347.50
 07/26/2021   WLR      CP       Draft Second interim fee application                  3.00        850.00      $2,550.00
 07/27/2021   WLR      CP       Draft Second interim fee application                  2.50        850.00      $2,125.00
 07/28/2021   BMM      CP       Communications with PSZJ team regarding interim       0.60        695.00        $417.00
                                fee application.
 07/29/2021   CAK      CP       Begin drafting spreadsheet in preparation of 2nd      0.40        300.00        $120.00
                                Interim fee application
 07/29/2021   BMM      CP       Communications with PSZJ team regarding interim       0.40        695.00        $278.00
                                fee application.

                                                                                      8.20                     $6,487.50

  General Creditors Comm. [B150]
 07/07/2021   BMM      GC       Communication with Committee regarding case           0.30        695.00        $208.50
                                issues.




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                                                                                        Hours           Rate     Amount
 07/15/2021   IDS      GC       Committee meeting regarding matters, claims,             1.20        700.00       $840.00
                                mediation.
 07/15/2021   IDS      GC       Prepare for committee meeting.                           0.40        700.00       $280.00
 07/15/2021   BMM      GC       Participate in committee meeting regarding case          1.20        695.00       $834.00
                                status and strategy.
 07/26/2021   IDS      GC       Telephone call with P. Starks regarding case.            0.50        700.00       $350.00
 07/27/2021   IDS      GC       Email update to SCC in lieu of meeting.                  0.80        700.00       $560.00
 07/29/2021   IDS      GC       Email to Committee regarding status.                     0.40        700.00       $280.00
 07/29/2021   BMM      GC       Communication to committee regarding next status         0.10        695.00        $69.50
                                conference.
 07/30/2021   BMM      GC       Communications with Committee regarding                  0.10        695.00        $69.50
                                upcoming hearings.

                                                                                         5.00                    $3,491.50

  Hearings
 07/28/2021   IDS      H        Attend status conference AVP.                            0.50        700.00       $350.00
 07/28/2021   BMM      H        Participate in AP status conference.                     0.50        695.00       $347.50

                                                                                         1.00                     $697.50

  Insurance Coverage
 07/06/2021   IAWN IC           Review coverage chart                                    0.10        700.00        $70.00
 07/06/2021   IAWN IC           Exchange emails with GC re insurance in 1982.            0.10        700.00        $70.00
 07/20/2021   IAWN IC           Email Murray re Parish insurance                         0.10        700.00        $70.00
 07/20/2021   IDS      IC       Counsel call regarding case status, insurance claims.    0.50        700.00       $350.00
 07/21/2021   IAWN IC           Review Murray email re Parish insurance                  0.10        700.00        $70.00
 07/27/2021   IAWN IC           Exchange emails with Scharf re Parish insurance.         0.10        700.00        $70.00
 07/27/2021   BMM      IC       Draft motion to intervene in insurance adversary         1.00        695.00       $695.00
                                proceedings.
 07/27/2021   BMM      IC       Draft motion to intervene in insurance adversary         0.90        695.00       $625.50
                                proceedings.

                                                                                         2.90                    $2,020.50

  Mediation
 07/14/2021   IDS      ME       Call with Donato regarding mediation.                    0.40        700.00       $280.00
 07/23/2021   IDS      ME       Telephone call with James Stang regarding                0.20        700.00       $140.00
                                mediators.




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                                                                               Hours           Rate        Amount
 07/27/2021   IDS      ME       Work on mediation analysis.                     1.80        700.00        $1,260.00

                                                                                2.40                      $1,680.00

  Stay Litigation [B140]
 07/20/2021   IDS      SL       Email to SCC regarding parish stay.             0.20        700.00          $140.00
 07/26/2021   BMM      SL       Draft fifth extension of parish stipulation.    0.10        695.00           $69.50
 07/30/2021   IDS      SL       Finalize Parish Stipulation.                    0.30        700.00          $210.00

                                                                                0.60                        $419.50

  TOTAL SERVICES FOR THIS MATTER:                                                                       $36,061.00




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Diocese of Buffalo O.C.C.                                            Invoice 129097
18502 - 00002                                                        July 31, 2021



 Expenses

 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 07/19/2021   RE2        COPY ( 7 @0.10 PER PG)                          0.70


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 7 @0.10 PER PG)                          0.70


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 7 @0.10 PER PG)                          0.70


 07/19/2021   RE2        COPY ( 24 @0.10 PER PG)                         2.40


 07/19/2021   RE2        COPY ( 9 @0.10 PER PG)                          0.90


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 14 @0.10 PER PG)                         1.40


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60


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 07/19/2021   RE2        COPY ( 7 @0.10 PER PG)                          0.70


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50




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 07/19/2021   RE2        COPY ( 6 @0.10 PER PG)                          0.60


 07/19/2021   RE2        COPY ( 7 @0.10 PER PG)                          0.70


 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 07/19/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60


 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 07/19/2021   RE2        COPY ( 14 @0.10 PER PG)                         1.40


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60


 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 3 @0.10 PER PG)                          0.30


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 07/19/2021   RE2        COPY ( 7 @0.10 PER PG)                          0.70


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 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                          0.80


 07/19/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60


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 07/19/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 14 @0.10 PER PG)                         1.40


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 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


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 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                         1.50


 07/19/2021   RE2        COPY ( 16 @0.10 PER PG)                         1.60




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 07/19/2021   RE2        COPY ( 16 @0.10 PER PG)                                         1.60


 07/19/2021   RE2        COPY ( 15 @0.10 PER PG)                                         1.50


 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                                          0.80


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 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                                          0.80


 07/19/2021   RE2        COPY ( 8 @0.10 PER PG)                                          0.80


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 07/21/2021   RE2        COPY ( 15 @0.10 PER PG)                                         1.50


 07/21/2021   RE2        COPY ( 16 @0.10 PER PG)                                         1.60


 07/21/2021   RE2        COPY ( 15 @0.10 PER PG)                                         1.50


 07/21/2021   RE2        COPY ( 15 @0.10 PER PG)                                         1.50


 07/21/2021   RE2        COPY ( 16 @0.10 PER PG)                                         1.60


 07/21/2021   RE2        COPY ( 15 @0.10 PER PG)                                         1.50


 07/21/2021   RE2        COPY ( 9 @0.10 PER PG)                                          0.90


 07/31/2021   OS         Everlaw, Inv. 43213, Diocese of Buffalo database for the      500.00
                         month of July


 07/31/2021   PAC        Pacer - Court Research                                         11.20

   Total Expenses for this Matter                                                   $594.20




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                                                REMITTANCE ADVICE

                                    Please inlcude this Remittance with your payment

For current services rendered through:        07/31/2021

Total Fees                                                                                             $36,061.00

Total Expenses                                                                                             594.20

Total Due on Current Invoice                                                                           $36,655.20

  Outstanding Balance from prior invoices as of        07/31/2021          (May not include recent payments)

A/R Bill Number           Invoice Date              Fees Billed         Expenses Billed             Balance Due
 125270                   04/30/2020               $109,192.50             $625.07                    $10,919.25

 125276                   05/31/2020               $152,307.50             $578.14                    $15,230.75

 125334                   06/30/2020                $41,562.50           $1,006.09                     $4,156.25

 126177                   07/31/2020                $51,502.50           $1,349.12                     $5,150.25

 126524                   08/31/2020                $33,130.00             $247.58                     $7,891.75

 128245                   03/31/2021                $32,659.50             $555.35                     $3,448.23

 128247                   04/30/2021                $18,006.50             $514.72                    $18,521.22

 128249                   05/31/2021                $18,814.50             $500.00                    $19,314.50

 129096                   06/30/2021                $11,449.00             $500.00                    $11,949.00

             Total Amount Due on Current and Prior Invoices:                                          $133,236.40




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